                             UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION


TERRIA HOLCOMB, as Personal Representative                CASE 7:24CV-01145-JDA-KFM
for the Estate of Darius Holcomb
īÍĖĲťĖƯ
v.

SPARTANBURG COUNTY, SPARTANBURG COUNTY
SHERIFF’S OFFICE, OFFICER WESLEY BENNETT, ET AL.
Defendants


                 WITHDRAWAL OF MOTION FOR VOLUNTARY DISMISSAL

       Terria Holcomb, as personal representative for the Estate of Darius Holcomb,

withdraws her motion for voluntary dismissal of this case.


   1. īÍĖĲťĖƯЍŜϙıĺťĖĺĲϙċĺŘϙŽĺīŪĲťÍŘƅϙîĖŜıĖŜŜÍīϙſĖťēĺŪťϙŕŘôĤŪîĖèôϙſÍŜϙƱīôîϙĺĲϙaÍƅϙ͕Ϡϙ͑͏͓͑ϟ

   2. ēôϙıĺťĖĺĲϙſÍŜϙƱīôîϙæôèÍŪŜôϙīÍĖĲťĖƯϙťôŘıĖĲÍťôîϙēôŘϙÍťťĺŘĲôƅϠϙaÍŘŽĖĲϙôĲîÍŘŽĖŜϠϙ
      and required additional time to retain a new attorney.

   3. īÍĖĲťĖƯϙĖŜϙĖĲϙťēôϙŕŘĺèôŜŜϙĺċϙŘôťÍĖĲĖĲČϙÍϙĲôſϙÍťťĺŘĲôƅϙťĺϙŘôŕŘôŜôĲťϙēôŘϙĖĲϙťēĖŜϙèÍŜôϙÍĲîϙ
      wishes to proceed with it rather than dismiss it at this time.



   TERRIA HOLCOMB

   ________________________
   Terria Holcomb, Pro Se
   191 South Carolina Avenue
   Spartanburg, SC
   Tel: (864) 621-1797
   Email: terriaholcomb@gmail.com
